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(Both admitted pro hac vice) rod F4 a
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8 | JASON S. MILLS, SBN 225126 on
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wenty-second Floor DISTRICT COURT 3
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11 | e-mail: bfitzgerald@morganlewis.com | 2
9 e-mail: jmills@morganlewis.com CENTRALD, oer OF CALIFORNIA 2
Attorneys for Defendant eA
13 | ELI LILLY AND COMPANY 2
S
14 UNITED STATES DISTRICT COURT 2
15 CENTRAL DISTRICT OF CALIFORNIA
WILLIAM PUTNAM, on behalf of Case No. CV-07-3656 J -
16 himself and others similarly situated, Ut W CFL A 2
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23 To expedite the flow of discovery material, facilitate the prompt resolution of
a4 disputes over confidentiality, adequately protect confidential material, and ensure
29 | that protection is afforded only to material so entitled, the Court enters this
| 26 | protective Order pursuant to Rule 26 of the Federal Rules of Civil Procedure.
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1. Good Cause Statement
a. | WHEREAS, Plaintiff William Putnam (“Plaintiff”) has served

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discovery that seeks the disclosure of proprietary information regarding trade * &
secrets of Defendant Eli Lilly and Company (“Lilly”), including but not limited ta
its products and selling and marketing practices; private information regarding
Lilly’s current and former employees; and confidential information regarding
Lilly’s customers, including but limited to doctors, pharmacies, hospitals, and any
and all other medical providers, and patients.

b. | WHEREAS, by order dated August 23, 2007, the Magistrate Judge
directed the parties in this matter “to submit a stipulated proposed protective order
setting forth, at a minimum, the terms to govern the use of to-be-disclosed names,
addresses and telephone numbers” of current and former Lilly employees
(specifically addressed hereunder at paragraphs 3 and 4(b)).

c. | WHEREAS, the parties having met and conferred with one another in
good faith, the parties agree that a stipulated protective order is necessary to protect
Lilly’s trade secrets, confidential product and marketing information, private
information regarding Lilly’s current and former employees, and confidential
information regarding Lilly’s customers.

d. | WHEREAS, in the absence of a protective order, proprietary
information regarding Lilly's trade secrets, technical information, financial
information, business strategy, and marketing information may be disclosed
publicly; private information regarding Lilly's current and former employees may
be made public; confidential information regarding Lilly’s customers may be made
public; and the disclosure of this information to a competitor would put Lilly at a
competitive disadvantage in the marketplace.

e. | WHEREAS, the parties thus agree that in order to conduct meaningful
discovery in accordance with the Federal Rules of Civil Procedure, a stipulated

protective order is necessary and outweighs the interest of the public to gain access

 

 

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to litigation documents and information that may be based in whole or in part upon
the information contained within such discovery. See Phillips v. GM Corp , 3071,
F.3d 1206, 1209-11 (9th Cir. 2002). “

THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and my
between Plaintiff and Lilly, and by and between their undersigned counsel, that:

2. Discovery Materials

This Order applies to all products of discovery and all information derived
therefrom, including, but not limited to, all documents, objects or things, deposition
testimony and interrogatory/request for admission responses, and any copies,
excerpts or summaries thereof, obtained by any party pursuant to the requirements
of any court order or rule of procedure, requests for production of documents,
requests for admissions, interrogatories, or subpoena (“Discovery Materials”). This
Order extends to any other forum to which this action may be transferred—and
upon final termination of this action, a party producing Confidential Discovery
materials may request the return or destruction of such Confidential Discovery
Materials.

3. Use of Discovery Materials

With the exception of documents or information that have become publicly
available without a breach of the terms of this Order, Discovery Materials produced
or discovered in this Litigation and designated confidential shall be used by the
receiving party solely for the prosecution or defense of this Litigation and/or the
litigation proceedings in the case entitled Schaefer-Larose v. Eli Lilly and
Company, Case No. 5:06-cv-1379, initially filed in the Northern District of New
York, and currently pending transfer to the Southern District of Indiana, to the
extent reasonably necessary to accomplish the purpose for which disclosure 1s
made, and not for any other purpose, including any other litigation or judicial
proceedings, or any business, competitive, governmental, commercial, or

administrative purpose or function.

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4. “Confidential Discovery Materials” Defined

For the purposes of this Order, “Confidential Discovery Materials” shall ; i
mean any information that the producing party in good faith believes is properly";
protected under Federal Rule of Civil Procedure 26(c) and which is properly ou
designated as confidential according to the procedures set forth in this Order,
including, but not limited to:

a. Any and all documents regarding, pertaining to, or concerning
proprietary, trade secret, financial, or other confidential material. “Trade secret”
means information, including a formula, pattern, compilation, program, device,
method, technique, or process, that: (1) Derives independent economic value,
actual or potential, from not being generally known to the public or to other persons
who can obtain economic value from its disclosure or use; and (2) Is the subject of
efforts that are reasonable under the circumstances to maintain its secrecy. Cal.
Civ. Code § 3426.1(d). Such documents shall include, but are not limited to,
confidential sales, marketing, compensation, and training materials, internal
documents concerning marketing techniques and effectiveness of those techniques,
and proprietary documents relating to Lilly’s products, the disclosure of which
could place Lilly at a competitive disadvantage.

b. Private information regarding, pertaining to, or concerning Lilly’s
current and former employees, including but not limited to home addresses, home
telephone numbers, social security numbers, drivers’ license numbers, and date of
birth, as well as any medical or psychiatric records for medical and/or psychiatric
treatment.

c. Information regarding, pertaining to, or concerning Lilly’s customers
that is not public information, including the identification of doctors, pharmacies,
hospitals, and other medical providers, or the patients thereof, who have purchased,
prescribed, or used, any product developed, manufactured, patented, and/or sold by
Lilly.

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The terms of this Order shall in no way affect the right of any person (a) to
withhold information on alleged grounds of immunity from discovery such as, for
example, attorney/client privilege, work product or privacy rights of such third #
parties as patients, physicians, clinical investigators, or reporters of claimed advéise
reactions; or (b) to withhold information on alleged grounds that such information
is neither relevant to any claim or defense nor reasonably calculated to lead to the
discovery of admissible evidence.

Where large volumes of Discovery Materials are provided to the requesting
party’s counsel for preliminary inspection and designation for production, and have
not been reviewed for confidentiality purposes, the producing party reserves the
right to designate the materials as Confidential and redact appropriate information
after they are designated by the requesting party for production. During the
preliminary inspection process, and before production, all Discovery Materials
reviewed by the requesting party’s counsel shall be treated as Confidential
Discovery Materials.

5. Designation of Documents as “Confidential”

a. For the purposes of this Order, the term “document” means all tangible
items, whether written, recorded, electronic or graphic, whether produced or created
by a party or another person, whether produced pursuant to subpoena, to discovery
request, by agreement, or otherwise.

Unless impossible or impractical to do so, any document which the producing
party intends to designate as Confidential shall be stamped (or otherwise have the
legend recorded upon it in a way that brings the legend to the attention of a
reasonable examiner) with the notation of "Confidential" or "Confidential -- Subject
to Protective Order" or other similar language. Such stamping or marking will take
place prior to production by the producing person, or subsequent to selection by the
requesting party for production. The stamp shall be affixed in such a manner as not

to obliterate or obscure any written material. To the extent not possible or practical

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to individually stamp documents as Confidential, the producing party shall inform
the receiving party, in writing, that the documents are being designated as iy
Confidential and specifically identify the document or group of documents so.
designated by Bates number(s).

b. A party may preliminarily designate as “Confidential” all documents
produced by a third party entity employed by the party for the purposes of
document management, quality control, production, reproduction, storage,
scanning, or other such purpose related to discovery, by notifying the counsel for
the other party that all documents being produced are to be accorded such
protection. Once said documents are produced by such third party vendor, the
designating party will then review the documents and, as appropriate, designate
them as “Confidential” by stamping the document (or otherwise having the legend
recorded upon it in a way that brings its attention to a reasonable examiner) as such
or by other appropriate means that clearly designate the documents intended to be
treated as Confidential.

6. Non-Disclosure of Confidential Discovery Materials

Except with the prior written consent of the party or other person originally
producing Confidential Discovery Materials, or as hereinafter provided under this
Order, no Confidential Discovery Materials, or any portion thereof, may be
disclosed to any person, except as set forth in paragraph 7 below.

7. Permissible Disclosures of Confidential Discovery Material

Notwithstanding paragraph 6, Confidential Discovery Materials may be
disclosed to and used only by:

a. the parties, putative class members and/or class members, but only to
the extent that the party, putative class member and/or class member has or had

access to the information during his or her employment with Lilly or to the extent

that the information is relevant to his or her claims in this Litigation;

 

 

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b. counsel of record for the parties in this Litigation and to his/her
partners, associates, paralegals, secretaries, legal assistants, and employees to the’
extent considered reasonably necessary to render professional services in the “i
Litigation; -

c. inside counsel of the parties, to the extent reasonably necessary to
render professional services in the Litigation;

d. _ court officials involved in this Litigation (including court reporters,
persons operating video recording equipment at depositions, and any special master
appointed by the Court);

e. any person designated by the Court in the interest of justice, upon such
terms as the Court may deem proper, after notice to the producing party and an
opportunity to be heard;

f. where produced by an opposing party, in addition to the persons
described in subsections (b) and (c) of this section, a party’s in-house paralegals
and outside counsel, including any attorneys employed by or retained by the party’s
outside counsel who are assisting in connection within this Litigation, and the
paralegal, clerical, secretarial, and other staff employed or retained by such outside
counsel or retained by the attorneys employed by or retained by a party’s outside
counsel, to the extent reasonably necessary to render professional services in the
Litigation;

g. persons noticed for depositions or designated as trial witnesses, or
those who counsel of record in good faith expect to testify at deposition or trial,
only to the extent reasonably necessary in preparing to testify;

h. outside consultants or outside experts retained for the purpose of
assisting counsel in the Litigation,

1. employees of third-party contractors involved in one or more aspects

of copying, organizing, filing, coding, converting, storing, or retrieving data or

 

 

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designating programs for handling data connected with this action, including the
performance of such duties in relation to a computerized litigation support systefn;

j. any employee of a party or former employee of a party, but only to ihe
extent considered necessary for the preparation and trial of this action; and

_k. any other person, if consented to in writing in advance by the
producing party.

Any individual to whom disclosure is to be made under subparagraph (a) or
under subparagraphs (e) through (k) shall sign, prior to such disclosure, a copy of
the Endorsement of Protective Order, attached as Exhibit A. Counsel providing
access to Confidential Discovery Materials shail retain copies of the executed
Endorsement(s) of Protective Order. Any party seeking a copy of an endorsement
may make a demand setting forth the reasons therefore to which the opposing party
will respond in writing. If the dispute cannot be resolved, the parties shall obtain a
decision from the Court pursuant to the procedure set forth in Local Rule 37 of the
United States District Court for the Central District of California. For testifying
experts, a copy of the Endorsement of Protective Order executed by the testifying
expert shall be furnished to counsel for the party who produced the Confidential
Discovery Materials to which the expert has access, at the time the expert’s
designation is served, or at the time the Confidential Discovery Materials are
provided to the testifying expert, whichever is later.

8. Production of Confidential Materials by Non-Parties

Any non-party who is producing Discovery Materials in the Litigation may
agrée to and obtain the benefits of the terms and protections of this Order by
designating as “Confidential” the Discovery Materials that the non-party is
producing, as set forth in paragraph 5.

9. Inadvertent Disclosures

a. The parties agree that the inadvertent production of any Discovery

Materials that would be protected from disclosure pursuant to the attorney-client

 

 

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privilege, the work product doctrine or any other relevant privilege or doctrine shall

not constitute a waiver of the applicable privilege or doctrine. If any such bai
Discovery Materials are inadvertently produced, the recipient of the Discovery ®
Materials agrees that, upon request from the producing party, it will promptly rettim
the Discovery Materials and all copies of the Discovery Materials in its possession,
delete any versions of the Discovery Materials on any database it maintains and
make no use of the information contained in the Discovery Materials; provided,
however, that the party returning such Discovery Materials shall have the right to
apply to the Court for an order that such Discovery Materials are not protected from
disclosure by any privilege pursuant to the procedure set forth in Local Rule 37 of
the United States District Court for the Central District of California. The person
returning such material may not, however, assert as a ground for such motion the
fact or circumstances of the inadvertent production.

b. The parties further agree that in the event that the producing party or
other party inadvertently fails to designate Discovery Materials as Confidential in
this or any other litigation, it may make such a designation subsequently by
notifying all persons and parties to whom such Discovery Materials were produced,
in writing, as soon as practicable. After receipt of such notification, the persons to
whom production has been made shall prospectively treat the designated Discovery
Materials as Confidential, subject to their right to dispute such designation in
accordance with paragraph 9.

10. Declassification

a. Nothing shall prevent disclosure beyond that limited by this Order if
the producing party consents in writing in advance to such disclosure.

b. If at any time a party (or aggrieved entity permitted by the Court to
intervene for such purpose) wishes for any good faith reason to dispute a

designation of Discovery Materials as Confidential made hereunder, the dispute

shall proceed pursuant to Local Rule 37.

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c. The designating party shall have the burden of proof upon such
application to establish the propriety of its Confidential designation and to produce
to the court copies of all disputed documents if requested by the court, or if the “y
court allows, representative samples of all disputed documents. All information’” !
whose designation as confidential has been disputed shall be treated as confidential
until such time as the Court determines or the parties agree otherwise, even after the
conclusion of this matter.

11. Confidential Discovery Materials in Depositions

a. Counsel for any party may show Confidential Discovery Materials to a
deponent during deposition and examine the deponent about the materials so long
as the deponent already knows the Confidential information contained therein or if
the provisions of paragraph 7 are complied with.

b. Parties (and deponents) may designate testimony and exhibits as
subject to Confidential protection under this Order at the time of the deposition. In
addition, Parties (and deponents) may, within thirty (30) days after receiving a
deposition, designate pages of the transcript (and exhibits thereto) as Confidential.
During the first fourteen (14) days of such thirty (30) day period, the entire
transcript, including exhibits, will be treated as subject to Confidential protection
under this Order. If no party or deponent timely designates a transcript as
Confidential, then none of the transcript or its exhibits will be treated as
confidential.

12. Confidential Discovery Materials Offered as Evidence at Trial

Confidential Discovery Materials and the information therein may be offered
in evidence at trial or any court hearing, provided that the proponent of the evidence
gives notice to counsel for the party or other person that designated the Discovery
Materials or information as Confidential at least fifteen days prior to the scheduled
trial date, or such shorter period if agreed to in writing between the parties or so-

ordered by the Court. Any party may move the Court for an order that the evidence

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1 | be received in camera or under other conditions to prevent unnecessary disclosure.
2 | The Court will then determine whether the proffered evidence should continue tOibe
3 | treated as Confidential and, if so, what protection, if any, may be afforded to such’
4 | Discovery Materials or information at trial.
5 13. Filing
6 The parties agree that Confidential Discovery Materials shall not be filed
7 | with the Clerk except when required in connection with matters pending before the
8 | Court and when the party in good faith thinks the Confidential Discovery Materials
9 | are relevant to the subject matter of the filing. Any party filing motion papers or
10 | other Court filings, including exhibits, that would disclose Confidential Discovery
11_} Material must make an application to file the Confidential Discovery Material
12 | under seal pursuant to Rule 79-5 of the Civil Local Rules for the United States
13 | District Court, Central District of California, which may be by ex parte application, RA hh
14 | Ifthe receiving party disputes a confidential designation of motion papers or Ae
15 | exhibits, then the receiving party must notify the designating party of that dispute in |S: hewn
16 | writing. If the parties are unable to resolve their dispute, the parties may petition Pre
17 | the Court pursuant to the procedure set forth in Local Rule 37 of the United States
18 | District Court for the Central District of California for an order approving or
19 | removing the confidential designation. In the interim, the designated material shall
20 | be deemed Confidential Discovery Material until the issue is resolved by the Court.
21 Where an application to file under seal is granted, the filing shall be
22 | separately filed under seal with the Court in a sealed envelope, clearly marked:
23 “THIS DOCUMENT CONTAINS CONFIDENTIAL
24 ORDER OF THE COURT AND Is SUBMITTED UNDER
25 CONFIDENTIAL CONTENTS. GF THIS DOCUMENT
36 MRT BE GORE” WITHOUT EXPRESS
27 | and shall remain sealed while in the office of the Clerk so long as they retain their
nanen & status as Confidential Discovery Materials, or shall be filed and sealed in such other
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manner as that Court may order. Unless otherwise ordered by the Court, said
Confidential Discovery Materials shall be kept under seal until further order of the;
Court; however, said Confidential Discovery Materials and other papers filed under
seal shall be available to the Court, to counsel of record, and to all other persons* «
entitled to receive the confidential information contained therein under the terms of
this Order.

14. Client Consultation

Nothing in this Order shall prevent or otherwise restrict counsel from
rendering advice to their clients in this Litigation and, in the course thereof, relying
generally on examination of Confidential Discovery Materials.

15. Subpoena by other Courts or Agencies

If another court or an administrative agency subpoenas or otherwise orders
production of Confidential Discovery Materials which a person has obtained under
the terms of this Order, the person to whom the subpoena or other process is
directed shall promptly notify the designating party in writing by facsimile, hand
delivery, and/or electronic mail of all of the following: (1) the Discovery Materials
that are requested for production in the subpoena; (2) the date on which compliance
with the subpoena is requested; (3) the location at which compliance with the
subpoena is requested; (4) the identity of the party serving the subpoena; and (5) the
case name, jurisdiction and index, docket, complaint, charge, civil action or other
identification number or other designation identifying the litigation, administrative
proceeding or other proceeding in which the subpoena or other process has been
issued, Such notice shal! be given to designating party as soon as practicable to
permit action by the designating party, but in no event later than five (5) business
days from the person’s receipt of the subpoena or order of production. Persons who
have obtained Confidential Discovery Materials under the terms of this Order shall
not respond to a subpoena or order of production prior to giving notice to the

designating party and shall not respond to the subpoena so quickly after giving:

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notice as to deny the designating party an opportunity to move to modify or quash
it. Furthermore, persons who have obtained Confidential Discovery Materials Hit
under the terms of this Order shall not respond to a subpoena or order of
production, in accordance with law, when the designating party timely files a
motion to quash or modify. Confidential Discovery Materials that are also obtained
either directly or indirectly by a subpoena are subject to the provisions of this
Order.

For purposes of providing the notice required under this paragraph, notice to

Lilly shall be directed to:

Ellen E. Boshkoff and Denise Simpson
BAKER AND DANIELS LLP

300 North Meridian Street

Suite 2700

Indianapolis, IN 46204

Fax: (317) 237-1000
ellen.boshkoff@bakerd.com
denise.simpson@bakerd.com

16. Non-termination

Upon final termination of this action, a party producing Confidential
Discovery Materials may request the return or destruction of such Confidential
Discovery Materials. Within ninety (90) days after final conclusion of all aspects
of the Litigation, if any, the receiving parties shall, at their option, return or destroy
Confidential Discovery Materials and all copies of same. Notwithstanding this
provision, Counsel are entitled to retain an archival copy of all pleadings, motion
papers, transcripts, legal memoranda, correspondence or attorney work product,
even if such materials contain Confidential Material. Any such archival copies that
contain or constitute Confidential Material remain subject to this Stipulated
Protective Order. If the receiving party elects to destroy Confidential Discovery
Materials, it shall consult with counsel for the producing party on the manner of
destruction and obtain such party’s consent to the method and means of destruction.

All counsel of record for the receiving party shall make certification of compliance

 

 

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herewith and shall deliver the same to counsel for the party who produced the
Discovery Materials not more than one hundred and twenty (120) days after final, |
termination of this Litigation. Counsel of record, however, shall not be required to
return or destroy any pretrial or trial records as are regularly maintained by that o
counsel in the ordinary course of business; which records will continue to be
maintained as confidential in conformity with this Order.

17. Modification Permitted

Nothing in this Order shall prevent any party or other person from seeking
modification of this Order or from objecting to discovery that it believes to be
otherwise improper.

18. Responsibility of Attorneys; Copies

The attorneys of record are responsible for employing reasonable measures to
control consistent with this Order, duplication of, access to, and distribution of
Confidential Discovery Materials, including abstracts and summaries thereof.

No duplications of Confidential Discovery Materials shall be made except for
providing copies to be used in the work of conducting this case and for filing in
court under seal; provided, however, that copies may be made only by those
persons specified in sections (b), (c) and (d) of paragraph JB above or by experts and
consultants to the extent they deem necessary for the provisions of their services in
this action. Any copy provided to a person described in paragraph # or made by an
expert or consultant shall be returned to counsel of record upon completion of the
purpose for which such copy was provided. In the event of a change in counsel,
retiring counsel shall fully instruct new counsel of their responsibilities under this
Order and new counsel shall sign this Order.

19. No Waiver of Rights or Implication of Discoverability

a. No disclosure pursuant to any provision of this Order shall waive any

rights or privileges of any party granted by this Order.

 

 

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STIPULATED PROTECTIVE ORDER

 
 

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1 b. This Order shall not enlarge or affect the proper scope of discovery in
2 || this or any other litigation; nor shall this order imply that Confidential Discovery; |
3 | Materials are properly discoverable, relevant, or admissible in this or any other “.
4 || litigation. Each party reserves the right to object to any disclosure of informatioit or
5 | production of any documents that the producing party designates as Confidential
6 | Discovery Materials on any other ground it may deem appropriate.
7 c. The entry of this Order shall be without prejudice to the rights of the
8 | parties, or any one of them, or of any non-party to assert or apply for additional or
9 | different protection. Nothing in this Order shall prevent any party from seeking an
.10 | appropriate protective order to further govern the use of Confidential Discovery
11 | Materials at trial.
12 20. Improper Disclosure of Confidential Discovery Material
13 Disclosure of Discovery Materials designated Confidential other than in
14 | accordance with the terms of this Protective Order may subject the disclosing
15 ] person to such sanctions and remedies as the Court may deem appropriate.
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BAKER &
DANIELS LLP

Dated: August 28, 2007

FOR DEFENDANT ts
ELI LILLY AND COMPANY ti

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By: blot

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Jeon S. Mills
RGAN, LEWIS & BOCKIUS LLP

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Fax: 213.612.2501
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Brian R, Garrison Bar No. 26367-49
Both admitted pre hac vice)
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Dated: August 28, 2007

FOR PLAINTIFF

WILLIAM PUTNAM,

on behalf of himself and others similarly
situated

SPIRO MOSS BARNES

By: [ SU

fra Spiro

Gregory N. Karasik

Spiro Moss Barnes

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STIPULATED PROTECTIVE ORDER

 

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l UNITED STATES DISTRICT COURT
2 CENTRAL DISTRICT OF CALIFORNIA i
3 | WILLIAM PUTNAM, on behalf of —_| Case No. CV-07-3656 a
himself and others similarly situated, baw
4 EXHIBIT A ey
Plaintiffs,
5 ENDORSEMENT OF
VS. PROTECTIVE ORDER
6
ELI LILLY AND COMPANY; and
7 | DOES | to 50, Inclusive,
8 Defendants.
9
10 - Thereby attest to my understanding that information or documents designated

11 | Confidential are provided to me subject to the Protective Order (“Order”) dated

12 | August 7, 2007, in the above-captioned litigation (“Litigation”); that I have been

13 | given a copy of and have read the Order; and that J agree to be bound by its terms.

14 ] J also understand that my execution of this Endorsement of Protective Order,

15 | indicating my agreement to be bound by the Order, is a prerequisite to my review of

16 | any information or documents designated as Confidential pursuant to the Order.

17 I further agree that I shall not disclose to others, except in accord with the

18 | Order, any Confidential Discovery Materials, in any form whatsoever, and that such

19 | Confidential Discovery Materials and the information contained therein may be

20 | used only for the purposes authorized by the Order. 1 acknowledge that my

21 | obligation not to disclose Confidential Discovery Materials to others extends to any

72 || manufacturer, distributor, or seller of prescription medications or any employee of

23 | such manufacturer or seller.

24 I further agree to return all copies of any Confidential Discovery Materials I
25 | have received to counsel who provided them to me upon completion of the purpose

26 | for which they were provided and no later than the conclusion of this Litigation.

27 I further agree and attest to my understanding that my obligation to honor the

oases & confidentiality of such discovery material will continue even after this Litigation
KER

DANIELS LLP
INDIANAPOLIS 1-LA/954810 | 18

 

STIPULATED PROTECTIVE ORDER

 
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DANIELS LLP
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concludes.

| further agree and attest to my understanding that, if fail to abide by the; I
terms of the Order, I may be subject to sanctions, including contempt of court, be
such failure. I agree to be subject to the jurisdiction of the United States District” ee
Court for the Central District of California for the purposes of any proceedings
relating to enforcement of the Order.

I further agree to be bound by and to comply with the terms of the Order as
soon as I sign this Endorsement, regardless of whether the Order has been entered

by the Court.

Date:
By:
Printed Name:

 

 

 

 

 

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STIPULATED PROTECTIVE ORDER

 

 
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DANIELS LLP
INDIANAPOLIS
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ORDER

PURSUANT TO THE STIPULATION, IT IS SO ORDERED.

 

Dated:
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United States Magistrate Judge

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STIPULATED PROTECTIVE ORDER

 
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PROOF OF SERVICE

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tat
I am a resident of the State of California and over the age of eighteen years,

and not a party to the within action; my business address is 300 South Grand",
Avenue, Twenty-Second Floor, Los Angeles, CA 90071-3132. oy

On August 28, 2007, I served the within document:
STIPULATED PROTECTIVE ORDER

[x] by placing the document(s) listed above in a sealed envelope with
postage thereon fully prepaid, in the United States mail at Los
Angeles, California addressed as set forth below.

George R. Kingsley, Esq. Ira Spiro, Esq.

Eric B. Kingsley, Req. q Gregory N. Rarasik, Esq.

Darren M. Cohen, Esq. Spi Moss Barnes

Elana R. Levin, Esq. 11377 W. Olympic Blvd., 5th Floor

Kingsley & Kingsley, Esq. Los Angeles, CA 90064
16133 Ventura Blvd., Suite 1200
Encino, CA 91436

Ellen E. Boshkoff, Esq. Christopher A. Seeger, Esq.
Brian R. Garrison, Esq. Stephen A. Weiss, Esq.

Baker & Daniels LLP Christopher van De Kieft, Esq.
300 No. Meridian St., Suite 2700 Seeger Weiss

Indianapolis, IN 46204 One William Street

New York, New York 10004

I am readily familiar with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with the
U.S. Postal Service on that same day with postage thereon fully prepaid in the
ordinary course of business. | am aware that on motion of the party served, service
is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit.

Executed on August 28, 2007, at Los Angeles, California.

I declare under penalty of perjury, under the laws of the State of California
and the United States of America, that the foregoing is true and correct.

s

 

/ Shirl iedel .

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